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SOUTHERN DISTRICT OF

 

 

 

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Case 4:20-cv-03440 Document 1 Filed on 10/05/20 in TXSD Page 3 of 66

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Offender Signature:

 

 

 

Grievance Response:

An investigation into your claim has been conducted. Captain Montgomery states that you were instructed
to sit down and face the wall while an ICS was in progress. You laid down on the floor impeding the
medical staff. You were taken to f-wing and later released without a case or further incident. Insufficient
evidence was found to substantiate your claims that Captain Montgomery conducted herself
unprofessionally. No further action is warranted by this office.

ASST. WARDEN

C. LACOX
Signature Authority: _ _ (f Z. Date: _S,

- Hf vou are dissatisfied with the Step 1 response. you may submit a Step 2 (1-128) te the Unit Grievance Investigator within [5S days fron: the date of the &tep Vresponse.
State the reason for appeal on the Step 2 Form.

 

 

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Screening Criteria Used:
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Grievance #:

 

 

Screening Criteria Used:

 

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Grievance #:

 

Application of the screening criteria for this grievance is not expected to adversely
Affect the offender’s health.

Screening Criteria Used:

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]-127 Back (Revised 11-2910) Appendix F
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Case 4:20-cv-03440 “Ew 1 ; = Bronze inTXSD Pap§ Aplor H20

Exh; oie OFFICE USE ONLY
Texas Department of Criminal Justice | Grievance #: 2QO0201NY)

ec ate: 15 MAY 2020
STEP 2 OFFENDER | so neapac MAY 19-200

GRIEVANCE FORM yn.

Date Due:
Offender Name: L Wie E. C, | 0S. Ss TDCI # Q 230 3 8 Q l Grievance Code: iS
Unit: F. {i S Housing Assignment: GIjS-1i-) g Bw Investigator ID#: oud 6

Unit where incident occurred: E [: if Extension Date:

 
 

 

 

 

 

 

You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted. You may not appeal to Step 2 with a Step I that has been returned unprocessed. | 5 JUL On

Give reason for appeal (Be ee de lam dissatisfied with t response at Step 1 because...

   
   
 

 

 

 

 

 

 

 

 

 

 

 

 

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Appendix G

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 
  

 

 
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Case 4:20-cv-03440 Document 1 Filed on 10/05/20 in TXSD_ Page 24 of 66

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Offender Signature: fs _Yye— Date: We / | 2/ 2BIDO

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Grievance Response: ,

Your Step 2 grievance has been investigated by this office. You were appropriately advised at
Step 1 level. Staff conduct will continue to be monitored to ensure professionalism and policy
compliance. Based on the information available at this time, no further action is warranted. ~ cee

 

 

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Oe oat uf Criminal Justice

GFEENDER

 

 

FXSB Page 25-0f 66 —————
OFFICE USE ONLY

Grievance #: 20201 101
STEP I ane FORM Date Reseed: Va

Date Due:

GAj\S 15 “40 IS - Grievance Code: 200

Offender Name: Tos 2 FE. Class TDCI # goxecy Investigatar UD #: 200
Unit: £l ‘S Housing Assignment: fba~a—SB~ " Extension Date:

Unit where iacident occurred: _ Ee li LS — Date Retd te Offender:

 

 

 

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You rust try to resolve your problem with a staff member before y ou submit a formal complaint. The only exception Js whe
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Action Requested to resolve your Complaint. Pepe e Co a

 

     
  
    
 
  

 

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Grievance Response:

An investigation into your claim has been conducted. B2 is not currently nor has it been recently under
construction according to maintenance staff. Furthermore, records indicate that you have been
reassigned to G15. No policy violations have been noted and no further action is warranted by this office.

ASST. WARDEN
C. LACOX
if you are dissatisfied with the Step | response, vou may submit a Step 2 4-128} to the Unii Grievance Investigator within {5 days from the date of the Step Fresponse.

Signature Authority: Date
State the reason for appeal on the Step 2 Form.

 

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Grievable time period has expired.
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[_] 10. Illegible/Incomprehensible. *
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The issue presented is not grievable.

Redundant, Refer to grievance #

. No documented attempt st informal resolution.

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Screening Criteria Useds

Date Recd fram Offender:

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Grievance #:

Date Returned to Offender:

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’ Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

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Grievance #:

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Texas Department of Criminal Justice | Grievance » 2020 4d)

STEP 2 OFFENDER

   

 

 

 

 

 

 

 

GRIEVANCE FORM - A
Offender Name: L Al S$ E. Class TDCI # 02303 Gor A Grievance Code: : UV
Unit: bis Housing Assignment: G1S-1-/8B investigator ID#: 1) S64
Unit where incident occurred: Elig Unt Extension Date:
You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted. You may not appeal to Step 2 with a Step I that has been returned unprocessed. ? AJ if JN 9008

    

 

 

 

 

 

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Appendix G

 
 

— Ee... on 10/05/20 in TXSD_ Page 28 of 66

 

 

 

 

LI\A
Offender Signature: ft Vi Date: . [ u a ¢ 2. [ 90

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Grievance Response:

 

 

 

 

 

__ Your Step 2 grievance has been investigated by this office. There is insufficient evidence
to support your allegations that B2 housing has dust and/or debris. The area was checked
: : __ by maintenance staff and Your allegations could not be confirmed. Récords reflect you ©
| _ ane currently assigned to G15.. This should resolve-your complaint. Based on the. .........
. __iforatins available at this time, no further action is warranted.

 
 

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Signature Authority: ZL y Dann Kh Vv. BARROW — Date: JUN 13 2020

 

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Texas Department of Criminal Justice OFFICE USE ONLY
OFFENDER Grievance #ADQD \\1525
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STEP 1 crievance rorm |S

Date Due: (gyda “3D
Grievance Code: \ 0 2,0

 

 

 

Offendes Name: Luis Cless. 2 TIC # OP ZB O3BO/ | investigator 1D: QHAA
Unik: Ee I, S _.... _Heasing Assignment: Gis- /-1 BB” fixtension Date:
. !
Unit where incident occurred: _ E]| LS _ Date Retd to Offender: 0 9 JUN 2020

 

 

 

 

 

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Appendix F

 
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Action Requested to resolve your Complaint.

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Offender Signature:

 

 

 

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Grievance Responve.

 
 
 

Review of your medical record shows you were seen on 04/13/20 at which time your restrictions were
reviewed and updated to meet your current medical condition. You were scheduled for an appointment

on 05/20/20 but you were not escorted by security. You are

being rescheduled. Medical does not have

authority over job assignments. If you feel like you are being worked outside of your restrictions, contact

security. No further action is warranted at this time.

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Signature Authority: — wD Aovta vo RAN ee

if vou wre dissutisfiod with the Stcp Eresponse, yau mas submit a Step 2 (i-'25, 7 the Una Grievance
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Application of the screening criteria for this grievance is not expected to adversely
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Grievance #:
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Appendix J
 

 

UGI Reed Date:_1.8 JUN 2020
STEP 2 OFFENDER | oncane, JUN 22 2000
GRIEVANCE FORM D -2Z
. ate Due:
Offender Name: Z Us S Cla SS” TDCI # 2226 380 f_ | Grievance Code:

 

Unit: z£ f S

Unit where incident occurred:

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Case 4:20-cv-0844Q/ Dpcumeft If Fiied on 10/05/20 in TXSD Page 3(0f
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Texas Department of Criminal Justice

Housing Assignment: GI5-!- 18 |

 

OFFICE USE ONLY

Grievance #: 20201972: “ )

Investigator ID#:

Extension Date:

 

 

 

 

You must attach the completed Step I Grievance that has been signed by the Warden for your Step 2 appeal to be

accepted. You may not appeal to Step 2 with a Step 1 that has been returned unprocessed.

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Appendix G

 
Case 4:20-cv-03440 Document 1 Filed on 10/05/20 in TXSD Page 32 of 66

 

 

 

 

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Offender Signature: fo CY L—

Grievance Response:

A review of the Step 1 medical grievance has been completed regarding your report you are being worked against your medical

restrictions.

According to the documentation, the appellate review of the medical grievance supports the response provided at the Step 1 level.
You have been evaluated on several occasions and provided the proper medical restrictions. It is the responsibility of the unit
‘ provider to prescribe treatment based on his observations and clinical findings which has been completed with you. If you feel
you are being worked against your medical restrictions, you will need to submit an i-60 to classification.

Review of the documentation indicates you did not attempt informal resolution of your medical concerns with supervisory staff.
“The unit facility has a complaint process in place. Should you feel your medical concerns require further evaluation you may

submit a Sick Call Request to the medical department.

STEP II MEDICAL GRIEVANCE PRO
OFFICE OF CPORESSIONAL STANDARDS
TOCY HEALTH SERVICES DIVISION

Signature Authority:

 

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von (D520

 

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Os. Malicious use of vulgar, indecent, or physically threatening language.

OC 6. Inappropriate.*

CGO Staff Signature:

 

1-128 Back (Revised 11-2010)

 

 

OFFICE USE ONLY

Initial Submission
Date UGI Reed:

CGO Initials:

 

 

Date CGO Recd:

 

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CGO Initials:

 

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Comments:

Improperly Submitted

 

Date Returned to Offender:
3" Submission
Date UGI Recd:

CGO Initials:

 

Date CGO Recd:

 

(check one)__ Screened

Comments:

Improperly Submitted

 

. Date Returned to Offender:

 

Appendix G

 

 
Case 4:20-cv-034 op mbar [i 0/05/20 in TXSD_ Page 33 of 66
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[ HOUSE/ JOB CHANGE

 

NAME: CLASS, LUIS E NOs @eSa3S601

 

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DATE: @S/@6/20E0 i1s2as55 RACE: W

 

 

 

BE ASSIGNED AS FOLLOWS:

OLD HOUSE:
NEW HOUSE: G-15-1-18B

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CLD JOB: FURNITURE FACTORY (TEMP)
NEW JOB: GUALITY ASSURANCE TECH F/F 1ST

 

 

 

SobChamary
COMPLETED BY: CL ALS

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Case 4:20-cv-03440 pofsimeb tl -laf-on Joipsr20 in TXSD Page 34 of 66
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Case 4:20-cv-03440 Document 1 Filed on 10/05/20 in TXSD_ Page 36 of 66

 

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Case 4:20-cv-03440 Document 1 - yo in TXSD_ Page 37 of 66

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Case 4:20-cv-03440 nko FE tx30/05/20 | rTXSD
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OFFENDER 00
STEP 1 crmvancerorm [Se |
Date Due ote adi

 

 

Grievance Codé:

Offender Name: Luis Cl assy TDC) #_0P20380/ ee A ONS
Unit: El is Housing Assignment: _G) IGe (-/ BB 1-1 BY | Extension Date: __

Unit where incident occurred: E | S Date Retd to Offender: 1 1 AUG 22 i

 

 

 

 

 

 

You must try to resolve your problem with a staff member before you sulsait a formal complaint. The only exception is when -

 

 

appealing the results of a disciplinary hearing. bv
Who did you talk to (name, title)? - Cl Cyr: When? J au
“ t ’ ~
What was their response? est Chon +h r more hen 20 Leys M!(Ss NY

What action was taken? Al O ComnmsiSSGr GY? No Tecr Colom

our grjevance in the space provided. Please stgte who, what, when, where and thg disgiplin case number if appropriate
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I-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix F

 
20 JUL 2020

Case 4:20-cv-03440 Document 1 Filed on 10/05/20 in TXSD_ Page 39 of 66

 

 

 

 

 

 

 

 

Action Requested to resolve:your Complaint. o lr _
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Offender Signature:

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Grievance Response:

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oo Werk Shine 4
: pate: July [IC/22__

Minor Disciplinary Case #20200230404 has been reviewed and no procedural errors were noteu. it
appears that there was sufficient evidence to support a finding of guilt. The punishment imposed was
within the established guldelines; therefore, there is no apparent reason to warrant overturning this case.

No further action is warranted by this office.

Signature Authority:

LL

ASST. WARDEN
C. LACOX

 

’ If you are dissatisfied with the Step 1 response, you inay submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of tife Ste# 1 response.

State the reason fur appeal on the Step 2 Form.

Returned because:

]1. Grievable time pericd nas expired.
j2. Submission in excess of 1 every 7 days. *
Cl 3. Originals not submitted. *
4. Inappropriate/Excessive attachments, *
5. No documented attempt at informal resolution.

(16. No requested relief is stated. *

vl 7. Malicious use of vulgar, indecent, or physically threatening language. *

(18. The issue presented is not grievable.
9. Redundant, Refer io grievance #_

[J 10. Illegible/Incomprehensible. *

(LJ 11. Inappropriate. *

UGI Printed Name/Signature:

*

*Resubmit this farm whan the corrections are made.

 

GFFICE USE ONLY

Initial Submission UG] Initials:

. Grievance #:

 

Screening Crileria Used:
Date Recd from Offender:
Date Returned to Offender:
2° Submission

Grievance #:

UGI Initials:

 

Screening Criteria Used:
Date Recd from Offender:
Date Returned to Offender:

3 Submission UGI Initials:

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

a .
Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:

Date Returued to Offende..

 

Medical Signature Authority:

_ I-127 Back (Revised 11-2010)

 

 

 

_ Appendix F
Case 4:20-cv-03440 bofemgips | sijeclen 465 )20 in TXSD Page 40 of 66

SUBJECT: State brieily the problem on Ww y Eh » assistance.

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DISPOSITION: (Inmate will “ write in this space)

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oa Case 4:20-cv-03440 D 0 in RXSB bz eAtrot +
Texas Department of Criminal Justice Phict USP ONLY

Grievance 4 020 \ BAS \)
OFFENDER

STEP 1 crrevance rorm - oo 39 |

Grievance Code: wok

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Offender Name: Z us Class TDC) 4 OP3O3BBO/ | investigator w ¥:-LAAD

Unit: E lis Housing Assignment: Gi IS —- |- 19 & 1-19 BS Extension Date: __

Unit where incident occurred: E / i ‘Ss Date Retd te Offender: 21 AUG 2020

You must try to resolve your problem with a staff member before /. subrait a formal ¢ laint. heya exception is when .
appealing the results of a disciplinary hearjng. k |me Mem kel

Who did you talk to (name, title)? { lo i dan toon TG / oO
What was their response? L S WG , dan do”

What action was taken? Non & Oren al lé a 2a) ne real ly Any! OWS, depr OSS S press -

 

State your e vanee in the space provided. Please mec des who, wh t, when, where apd the disciplinary case number if apy. riate

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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

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Action Requested to resolve your Complaint. ynew Lo & Y, er; C L,

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Offender Signature:

 

Grievance Response:

Review of your medical record shows you have multiple restrictions but you do not have a current
restriction that warrants a disciplinary restriction. This grievance is denied and no further action is

warranted at this time.

Signature Authority:

Date:

 

State the rcason fur appeal on the Step 2 Form.

Returned because: *Resubmit this form when the corrections are made.

. Grievable time period has expired.

. Submission in excess of 1 every 7 days. *

2, Originals not submitted. *

4. Inappropriate/Excessive attachments. *

5. No documented attempt at informal resolution. * .
. No requested reliefis stated. *

. Malicious use of vulgar, indecent, or physically threatening language. *

. The issue presented is not grievable.

9. Redundant, Refer to grievance #

(CJ 10. tilegible/Incomprehensible. *
[J 11. Inappropriate. *
UGI Printed Name/Signature:

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

 

Medical Signature Authority:

1-127 Back (Revised 11-2010)

Date: ~ Tou. ly [23/20 _
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’ If you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days trom the date of the Step 1 response.

 

 

OFFICE USE CNLY

Initial Submission UGI Initials:

Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:
Date Returned to Offender:
2° Submission

Grievance #:

UGI Initials:

 

Screening Criteria Used:
Date Recd from Offender:
Date Returned to Offender:
3+ Submission

Grievance #:

UGI Initials:

 

Screening Criteria Used:
Date Recd from Offender:
Date Returued to Offender:

 

Appendix F

 
BALTOs Case 4:20-cV\G340e Blows vest on 10/05/20 in TXSD pagoltalydd Lo

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Case 4:20-cv-03440 Bocyipent|y jhe of-20/08/20 in TXSD Page 45 of 66

 

SUBJECT: State briefly the problem on which you desire assistance.

 

 

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No: OD 320 2So { Unit: _,

 

Grs_i- /3B

Living Quarters:

Work Assignment:

 

 

 

 

DISPOSITION: (Inmate will not write in this space)

Your sick call request (SCR) has been screened by Medical
and has been determined not to be emergent or urgent. Due
to pandemic COVID-19, to limit unit movement and enhance

your safety, all non-emergent/non urgent requests will be

deferred. Ali medication renewals will continue to be
reviewed. In the meantime, you may resubmit a SCR if your
symptoms worsen.

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TEXAS DEPARTMENT OF CRIMINAL JUSTICE
Inter-Office Communication
Administrative Review and Risk Management
Offender Grievance

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i n— IX C2
mcsi#: 2303901 \ | \~ | | 0 i)
UNIT: —
FROM: Central Grievance Office SUBJECT: Correspondence

 

Your documents received in this office have been reviewed and a response is indicated below. Contact
the warden, major, chief of classification or a security officor for issues you deam as an emergency,
however, are not considered an emergency, th through the Offender Grieyance Procedure. If you need

 

 

Your correspondence was received at the Central Grievance Office and has been forwarded to Unit
Administration for further review.

Your correspondence was forwarded to this office by the Ombudsman's Office. _ That office does not
respond to offender complaints or requests.

Please utilize the Offender Grievance Procedure to address your concems.

A copy of the Instructions on How to Write and Submi Grievances is enclosed for your information.
Your Step 1 grievance(s) was properly screened.

Direct this issue to the Classification and Records Office.

Direct this issue to the Parole Board.

It is not permissible to mail your grievances directly to the Central Grievance Office. Submitting your
grievances incorrectly may result in your grievable time to expire.

Toe rently being addressed by unit oficial. Grievance # . is under
“review at Step
These issues have been reviewed at both steps of the grievance procedure. No other administrafive
Temedies are available fo you regarding the issue. Further action by this office is not warranted.
Records indicate that Grievance # _ was retumed fo you on

 

 

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Attachments returned.

 

 

 

—_ " additional information Of assistance, you may contact the Unit Grievance investigator af your unit. —_
 

   

SUBJECT: State bribtyAREproben-cnahicnpoYesheQsastaresit 1 Filed on 10/05/20 KN ndow arc
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vame 2 WS CIRC S No: 02263 80/ __ unit ELS
Living Quarters: (s [5 -!1-/08 Work Assignment: J~i 4or-

DISPOSITION: (inmate will not write in this space)

 

 

 

 

SUBJECT: State briefly the problem on which you desire assistance.

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Name: Lurs Clags No: 03320 380! Unit: Ellis
Living Quarters: G 1S~- L-/8 is. Work Assignment: J On) tor EF
DISPOSITION: (inmate will not write in this space) —_———_=—_——
te will not write in this space) RECEIVED
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Case 4:20-cv- oad ndarlen net Bed on 10/05/20 in TXSD. Page 48 of 66

 

 

Texas Department of Crimitiar Justice i OFSICE USE ONLY
GEFENDER Grievance
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STEP } . sere wtewue “ , Daic Receivea:
zt GRIEVANCE FORM |
. Date Dur: |
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Offender L Ms Cla SF TDCJ # QP 3038E/ Investigator FD 4: _ . _

 

Unit: or

Unit where incident occurred:

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Housing Assignment: GIg-!-7®B

 

Extension Date:

Date Retd to Gffender: |

 

 

 

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You must try to resolve your problem with a staff member before you submit a forma! compiaint. The only exception is when

appealing the results of a disciplinary h
Who did you talk to (name, title)?

What was their response?

What action was taken?

State your grievance in the space poe

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J-127 Front ok 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)
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Action Regyssted te rpoolveveus OaBvlty because Ne a.cue Lon im oa (GM 00G-LES
were incenclusvesY) ~ f) ,
Offender Signature: Qn for = Date: lus b G ES

Grievance Response:

 

Signature Authority: _ Date:

If you are dissatisfied with the Step | response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

 

 

Reirned because: “Resubmit this form when the corrections are made.

 

Za i Grievabie time period has expired pane :
[]2. Submission in excess of beveiy 7 days. * . OFFICE USE ONLY

Lo . . initial Submission UGi Initials: Glad
[] 3. Origins not submitted. *
CQ 4 / z . . ° Grrevance =: -ASOl JA2)
4. fnappropriate/Excessive attachments. *
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[[] &. No documented attempt at informal resolution. * 2 g Kr iN 2020
Date Reed from Offender: sun

UW 6. No requested retieris stated. * Date Returned to Offender: 29 JUN 2 2020

O 7. Malicious use of vulgar, indecent, or physically threatening language. *
Oo : oo 2“*Submission UGI Initials:
[1] &. The issue presented is not grievable.

Grievance #:
L19. Redundant. Refer to grievance # _ Screening Criteria Used:
S2NT TO re Screening Criteria Used:
1] 10. llegible/Incomprehensible. * Date Recd from Offender:
[-} 11. inappropriate. * Date Returned to Offender:
UGI Printed Name/Signature: ¥. WWlol.2 3“ Submission UGI Initials:

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Application of the screening criteria for this grievance is not expected to adversely
Affect the offender’s health.

Screening Criteria Used:

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1-127 Back (Revised 11-2010) A dix F
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Case 4:20-cv-03440 Document 1 Filed on 10/05/20 in TXSD Page 51 of 66

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DATE: @68/13/e2020 | ii:1g:18 RACE: W

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NAME: CLASS, LUIS NOs GSB 5601

 

  

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NEW JOB: UNASGN MEDICAL

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Jobchangl Or Aug 13 |2030
Ms: Lora, Holt Nurse
 

 

Case 4:20-cy-03440 Exhi bet Vv" 10/05/20 in TXSD_ Page 52 of 66

 

SUBJECT: State briefly the problem on which you desire assistance.

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TEXAS CRIMINAL AND TRAFFIC LAW .

‘Tesumptions
opted at this time.]

elevancy and its Limits
‘est for Relevant Evidence. .
(Genera Admissibility of Relevant Evidence.
xcluding Relevant Evidence for Prejudice,
4-€onfusion, or Other Reasons. .
@haracter Evidence; Crimes or Other Acts
ethods of Proving Character.
rant Routine Practice. ; ;
ubsequent Remedial Measures; Notification of
Detect. .
mpromise Offers and Negotiations.
ffers to Pay Medical and Similar Expenses.

OPleas, Plea Discussions, and Related Statements.

Liability Insurance. .
widence of Previous Sexual Conduct in
riminal Cases.

ivifden
Privileges in General.

F Required Reports Privileged By Statute.
hawyer Client Privilege.

-=Bpousal Privileges.

CPrivilege For Communications to a Clergy

‘ember.
Sette Vote Privilege.
ade Secrets Privilege.
Cinformer’s Identity Privilege.
hysician-Patient Privilege. oo
ental Health Information Privilege in Civil
ases. .
GwWaiver by Voluntary Disclosure. .
CPrivileged Matter Disclosed Under Compulsion
r Without Opportunity to Claim Privilege
‘Goomment On or Inference From a Privilege
—Claim; Instruction.

Withlesses
Competency to Testify in General; “Dead Man's
Rule’. .
4_Need for Personal Knowledge.
ath or Affirmation to Testify Truthfully.
Cfatersreter . ;
Judge’s Competency as a Witness.
Grace's Competency as a Witness.
—Who May Impeach a Witness.
Witness’s Character for Truthfulness or
ntruthfulness.

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Rule 609. Impeachment by Evidence of a Criminal
Conviction. :

Rule 610.

Religious Beliefs or Opinions.

Rule 611. Mode and Order of Examining Witnesses and
Presenting Evidence. ;

Rule 612. Writing Used to Refresh a Witness’s Memory.

Rule 613. Witness’s Prior Statement and Bias or
Interest.

Rule 614. Excluding Witnesses. . ; .

Rule 615. Producing a Witness’s Statement in Criminal
Cases.

Article VII. Opinions and Expert Testimony

Rule 701. Opinion Testimony by Lay Witnesses.

Rule 702. Testimony by Expert Witnesses. ;

Rule 703. Bases of an Expert's Opinion Testimony.

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Rule 705. Disclosing the Underlying Facts or Data and
Examining an Expert About Them.

Rule 706. Audit in Civil Cases.

Article VITI. Hearsay . :

Rule 801. Definitions That Apply to This Article;
Exclusions from Hearsay.

Rule 802. The Rule Against Hearsay.

Rule 803. Exceptions to the Rule Against Hearsay—
Regardless of Whether the Declarant Is
Available as a Witness. :

Rule 804. Exceptions to the Rule Against Hearsay—When
the Declarant Is Unavailable as a Witness.

Rule 805. Hearsay Within Hearsay. ,

Rule 806. Attacking and Supporting the Declarant’s
Credibility. .

Article IX. Authentication and Identification

Rule 901. Authenticating or Identifying Evidence.
Rule 902. Evidence That Is Self-Authenticating.
Rule 903. Subscribing Witness’s Testimony.

Article X. Contents of Writings, Recordings, and Photographs

Rule 1001. Definitions That Apply to This Article.

Rule 1002. Requirement of the Original.

Rule 1003. Admissibility of Duplicates.

Rule 1004. Admissibility of Other Evidence of Content. °

Rule 1005. Copies of Public Records to Prove Content. -

Rule 1006. Summaries to Prove Content.

Rule 1007. Testimony or Statement of a Party to Prove
Content. .

Rule 1008. Functions of the Court and Jury.

Rule 1009. Translating a Foreign Language Document.

 

PENAL CODE

TITLE 1

INTRODUCTORY
PROVISIONS

CHAPTER 1
GENERAL PROVISIONS

Sec. 1.01. Short Title.

This code shall be known and may be cited as the
Penal Code.

Sec. 1.02. Objectives of Code.

The general purposes of this code are to establish
a system of prohibitions, penalties, and correctional
measures to deal with conduct that unjustifiably
and inexcusably causes or threatens harm to those
individual or public interests for which state pro-
tection is appropriate. To this end, the provisions
of this code are intended, and shall be construed, to
achieve the following objectives:

weer? SpénsibleJ :
(1) to insure the public safety shtofigh: 1» eith
(A) the deterrent influenceof the penal- ehtof the offense

ties hereinafter provided; °
(B) the rehabilitation of thdése convicted
of violations of this code; and °
(C) such punishment as may bainec
sary to prevent likely recurrence of crimi-,
nal behavior; : . ,

(2) by definition and grading of offenses to
give fair warning of what is prohibited and of
the consequences of violation;

(3) to prescribe penalties that are propor-
tionate to the seriousness of offenses and that
permit recognition of differences in rehabili-
tation possibilities among individual offend-
ers; .
(4) to safeguard conduct that is without
guilt from condemnation as criminal;

(5) to guide and limit the exercise of official
discretion in law enforcement to prevent arbi-
trary or oppressive treatment of persons sus-
pected, accused, or convicted of offenses; and

(6) to define the scope of state interest in law
enforcement against specific offenses and to

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risdiction. .

Sec. 1.03. Effect of Code.

(a) Conduct does not constitute an offense unless
it is defined as an offense by statute, maunicipal ordi-
nance, order of a county commissioners court, or rule
authorized by and lawfully adopted under a statute.

(b) The provisions of Titles 1, 2, and 3 apply to
offenses defined by other laws, unless the statute
defining the offense provides otherwise; however,
the punishment affixed to an offense defined out-
side this code shall be applicable unless the pun-
ishment is classified in accordance with this code.

(ce) This code does not bar, suspend, or otherwise
affect a right or liability to damages, penalty, for-
feiture, or other remedy authorized by law to be
recovered or enforced in a civil suit for conduct this
code defines as an offense, and the civil injury is
not merged in the offense.

Sec. 1.04. Territorial Jurisdiction.

(a) This state has jurisdiction over an offense
that a person commifseby Ris qwn conduct or the
conduc} efeatother for which he is criminally re-

a
he conduct or # result that is an
Ot ¥ cers inside this state;
2 conduct puts is‘ state constitutes
ah ai aera effense inside this state;
(3) the conduct outside this state constitutes
a conspiracy to ‘commit an offense inside this
- state, and an act in furtherance of the conspir-
acy occurs inside this state; or
(4) the conduct inside this state constitutes an
attempt, solicitation, or conspiracy to commit, or
establishes criminal responsibility for the com-
mission of, an offense in another jurisdiction that
is also an offense under the laws of this state.
(b) If the offense is criminal homicide, a "result"
is either the physical impact causing death or the
death itself. If the body of a criminal homicide vic-
tim is found in this state, it is presumed that the
death occurred in this state. If death alone is the
basis for jurisdiction, it is a defense to the exercise
of jurisdiction by this state that the conduct that
constitutes the offense is not made criminal in the
jurisdiction where the conduct occurred.
(c) An offense based on an omission to perform a
duty imposed on an actor by a statute of this state

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SOCIAL SECURITY ADMIGISTRA TION
OSice of Dicability Adjudication and Brvicw
DECISION
INTHE CASE OF CLAW FOR
Leis E. Chass Benefits
(Caiman)

 

 

JUREDIC TION AND PROCE y
This case is before the undessigned on a request for hearing dated December 18, 2012 20 CFR.

404.929 et seq.)-
The evideace of record suppests 2 inily favorable decision, theredore no heating hes beca held
(20 CFR 404.948(a)). Mr. Milton D. Rivers-Adamees, a2 attomey, represents the claimant.

The claimant is alleging Gisability siace Juee 30, 2011.

 

   
 

‘There is an additional ixeue whether the insured states reqarements of sections 215G) and 223 of
acquired sufficient quarters of coverage to remain insured through December 31, 2016. Tims,
the claimant must establish disability on or before that date in order tp be extitied to 2 period of
disabled from Jane 30, 2011, through the date of this decision. The undersigned also finds that
ihe insured states requixeracats of the Social Secixity Act were met as of the date disability is

APPLICABLE LAW

Under the authority of the Social Secority Act, the Social Security Administration kas
sstablished a fivo-step sequential cvaluation process for determining whether an individual is
See Next Page

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Luis E. Class (586-AGG4h::20-CV-03440 Document 1 taxe@eon 10/05/20 in TXSD

Szabled (20 CFR 404.1520(9)). The steps are Soliowed in onder. Wt is desermnieed thet the
claiemant is or is not disabled at a stcp of the evaluation process, the evaluation will not go on 10

he next step.

Ai step one, the undexsigned raust deermniac wheiber the chimant is cagaging in substantial

_ gxinfal activity (20 CFR 404.1520(b)). Substantial painfal activity (SGA) is defied as work

activity that is both sabstantial and gainfal. If an individes! engages m SGA, he is not dissbied
egardiess of how severe his physical or mental mapeiecats are and regardless of his age.

education, or work experience. Hf the individoal is act engaging in SGA, the analysis procetils to

the second step.

isppaxments, the analysis proceeds to the third siep.
‘At step three, the nadexsigned masi detenminc whether the claimant's impliment or combination
of anpsxments is of a severity to saect or sedically cqual the criteria of an impamment Fisted in
20 CFR Pat 404, Subpart P, Appendix 1 (20 CFR 404.1520(d), 404.1525, and 404.1526). ifthe ;
claimant's anpeirecat or combination of impaitments is of a severity to mect or medically oqual
the criteria of a listing and secets the doralion requirement (2D CFR 404.1509), the claimant is
disabied. If it does not, the analysis proceeds to the vext siep.
‘Before considering step four of the sequential evaluation process, the undersigned mast first
defermine the claimant's residaal fanctionsl capacity (20 CFR 404.152%{e)). An individual's
residual fanctional capacity is his ability te do physical and mental work activities on a sustained
. consider 2 of the claimants separmnents, iechaiing expainocnts that we not severe (20 CFR
404.1520(e) and 404.1545; SSR 96-Ep).
—

Next, the undersigned must determine at step four whether the clainamnt has the residual
functional capacity to perform the requirements of his past relevant work (20 CFR 404.1520()).
‘The tenm past relevant work means work performed (esther 2s the claimaat actually performed it
Of as it is generally performed in the national ecomcany) within the last 15 years or 15 years prior
to the date that disability avast be established. In addition, the work must have lasted long
enough for the claimant to leam to do the job and have been SGA (20 CFR 404.1560(b) and
404.1565). If the claimant bes the residual fanctiozal capacity to do his past relevant work, the
claimant is act disabled. If the claimant is enable to do any past relevant work or does not have
any past relevant work, foe analysis proceeds to the fifth and lest siep.

At the last step of the sequential evaluation process (20 CFR 404.1520(g)), the undersigned mast
detexmive whether the claimant is abe 1 ds aay other wack comsierins he wssdaal Secticel
capacity, ape, education, and work experience. If the claimant is able to do other work, he is not

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Las E. Chass (583@00873)4:20-cv-03440 Document 1 PtP on 10/05/20 in TXSD

deabled. Hi the claimant is aot able to do other work and meets the duration requircuncnt, be 3s
duabicd. Altsough the clainaut gracrally comtinucs to have the burdca of proving disability =
this step, 2 Henited burden of going forward with the evidence shits to the Social Security
Administaation. in cader io support a finding that an individual is mot disabled at this stcp, the
Social Secusity Administration is vesponsiblc for providing evideace that demonetsates that other
work exists in significant wambbexs in the notional economy that the claireant can do, given the
residnal fenctional capacity, age, education, and work expexience (20 CFR 404.1512(g) and

404. 1560(c)).

 

 

After careful coaskieretion of the entire record, the wodersigned makes the following findings:
1. The clsimant’s date int imeved is December 31, 2016.

2. Thecisicant bes net engaged im substantial gaiafal activity stace June 30, 2011, the
alieged ousrt date (29 CFR 404.1520(b) and 404.1571 et seg.).

3. The cisimant hes the following severe impeirments: high blood pressare, Jombar
depencrative disease, aad bronciael asfiama (28 CFR 484. 1520{c)).

4 The andersigned Administrafive Law Judge faeds that the severity of the cleimant's
the criteria of sectian 1.04 A of 29 CFR Part 404, Subpart P,

impairments medically equals
Appendix 1 (20 CFR 494.1520(d), 404.1525 and 434.1526), since June 30, 2011.

‘The severity of the claimant's inepaimments racdically equal isting 1.04 A, based on writien

facet arthritis, vexicbral fracture), resulting in compromise of a nerve root (inching the canda
equina or the spmal cord. The A caiteria of this listings refexs to nerve root compression
characterized by ocuro-anatomic distribution of pzim, liesitation of motion of the spine, motor
Joss {atrophy with associated muscle weakness or muscle weakeess) accosapanied by sensory or
refiex loss and, sn if there is involvement of the lower back, requices positive straight-leg raising
fest (sitting and supine). In this particular case, im his written inferrogatory (Ex. 13£) Dr’ Rolon-
Rivera reports the following:
Ue ‘The claimant has musculoskeletal condition. Be has chronic low back pain. There is
intkability and SI radicalopathy. There is evidence of LA-5 lateral stenosis and L5-S}
disc bulge and annular tear and ceatral canal stenosis.

2) The claimast hes respixatory condition. He has bronchial asthma.
3) The claimant has cardiovescular condition. He has high blood pressure

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isting 1.04 A since Jume 30, 2011. He besed bis opinion cm IF, 2FGHet2, 6, 11,14,
58, 19, 20, 23, 24, 25, 27, 29, 33, 40, 41, 61, G3, and 68, 2,3,4,5,6and12 I i
concur.
a
In making this finding, the undersigned considered alll symptoans and the exited to which these
symptoms can reasonably be acccpicd as comiisient with the objective medical cvidence and
other evidence, based on the reqaisements of 20 CFR 404.1529 and SSRs 96-4p unl 96-Fp. ‘The
CER 404.1527 and SSRs 96-2p, 96-Gp anal 06-3p.

‘The recon] evidence shows the claenant 3s 41 years old veteran. He has a high school education
plus three years of college. His primary bnguage is Spanith. He is able ty communicate in
Explsh. The record cvideace shows the claznant stnads 6'1" in height and weighs 252 pounds.
His work expericace inclades the followimg. Data entry, Heavy Wheel Vehicle Mechanic, Ramp
Agent at Airport 2nd be last worked as Salesperson for wack pests center. The record shows a
good carsings record until 201 1, when he coald ao longer contiame working.

 

Medical evidence from the State Josmrance Fond (SIF) shows on May 27, 2009, the claimant had
@ work sccidest on May 27, 2009. ‘The claimant has fed foor cases through the SIF and there is
documented history of high blood pressure and broachjelastieng. The low heck pain is

On November 22, 2010, the clateonat bad an abnormal Nerve Condaction Stady of Motor

Nerves, incloding right leg abnormalitics in neuscies innervated by L5 root by mostly $1 root, L5

root aritability and right S! radiculopathy. An MRI stady revealed depencrative osteoarthritic

changes of the lumbosacral spine, posterior disc heruiation 12-13, posterior dise bulge at L3-L4,
hemation LS-S1 (Ex. 1F).

On Apail 9, 2012, consaltative neurologist Dr. Hector R. Stella-Arrillaga documented findings of
blood pressure reading at 150/80. On that date, the claimant weighed 249 pounts.

‘The claimant had tendemess to palpation to right havastring and to palpation of lamabosacral area.
Forward bend was 30 degrecs, latezal movements 10 degrees. The claimant was unable to squat,
kneel or walk on heels and toes due to pain. Gait was slow and antalgic, using a cane on right
band. There was evideace of decreased peaprick sensation on right leg LA-L5, S$} dermatome.
The deep tendon reflexes were positive bilaterally im the lower extremities.

 

 
 

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1) Because

   

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Dr. Stella-Ariillaga diagnosed the claimant with hasbosacell sprain, hernieted waclews palposus
12-13, L3-LA, LA-LS and LSS! and cight hamestring sprain. He opined that the claisnaat docs
need 2 came for walking, sad prognosis is very poor (Ex. 4F).
Progress notes from SIF shows in December 2011, MIKI findings inchude the following findings:
Misaligumest ut L2 on 13 ead 13 on LA; grade I retrolisthesis;
Generalized osteophyte Sormation and disc didocation aad narrowing of the intervertebral
discs spaces;
Hypestrophy of the apophyseal joints; 12-13 and L3-LA ccetzal canal stenosis secondary to
posterior disc bulges;
1LA-L5 central and lateral canal stenceis secondary ip posterior ilisc bulge;
Hypertrophy of the apopbyseal joints;
1L5-S1 diffuse posteriog disc bulge; central aanolar tear with central canal stenosis.

On Jamary 3}, 2013, the SUF physician ciagacsed the clatrant with recurrest extraded bomber
disc (Ex. 12F).

 

| Afier cousidesing the evidence of record, the undersigned finds that the clamment's medically
| determinable anpainments could rexsanably be expected to prodace the alleged symploms and
that the chimant’s statements concerning the intensity, persistence and lniting effects of these

apply.

Great weight is given the opinion of impartial medical expert Dr. Jose E. Rolon-Rivera, 2s the
substantial and credible evidence sapports hizn. He had the opportunity to review the eatixe file

i including additional evideace sobanitied at the bearing level. He hes knowledge of the Social
' Security Administration's disability review requirement, and his opinion is consistent with the
| >pitions aod observations expressed by other medical sources.

| 5. Theclsimant has been under 2 disability as defined in the Social Seenrity Act since

Tune 3®, 2811, the alieged onset dute af disability (28 CFR 484.1520(a)). Disability bas

ested 12 consecutive months or more. =

Based on the application for 2 period of disability and disability insarance benefits protectively
iled on Angust 9, 2011, the claiment hes been disabled under sections 216() and 273(d) of the

social Security Act since Jane 30, 2011

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inet caw oreeGAee 4:20-cVv-03440 Document taplailes! on 10/05/20 if FXSD PagetbyKvag bo, Vv

itis secommended dud a detensination be made coacemaing the appomtment of a ir
payee who can manage payments in the claioant’s inicrest. Tepresemtative

‘The workers’ compensation offset provisions at 20 CFR 404.408 may be applicable.

fil Gaspar 9. flloncnide
Grepa J. Mercado

| March 20, 2013

Date

 

 

 

 

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APPLICATION SUMMARY FOR DISABILITY ISSURANCE BEREFITS
On Angust 10, 2011, we talked with you and completed your application for
SOCIAL SECURITY BENEFITS. We stored this information electronically in our
records. We are enclosing a swmary of your statements.
I APPLY FOR A PERIOD OF DISABILITY AND/OR All ISSURAECE BEREFIIS FOR WHICH I AM
ELIGIBLE UNDER TITLE YI AND PART A OF TITLE XVIZI CE THE SOCIAL SECURITY ACI,
AS PRESENTLY AMENDED.
MY MAME IS LUIS E CLASS CORREA.

I SAVE USED THE FOLLOMIMG WAME(S) =
LOUIS EDGARDO CLASS CORREA

MY SOCIAL SECURITY BUMBER IS XXX-XX-XXXX.

MY DATE OF BIRTH IS November 27, 1971.

I AM A CITIZEM OF THE UHITED STATES.

I BECAME UNABLE TO WORK BECAUSE OF MY DISABLING COMDITION OW dune 30, 2011.
I AM STILL DISABLED.

NO PREVIOUS APPLICATION HAS BEEM FILED WITH THE SOCIAL SECURITY ADMINISTRATION
BY OR FOR ME.

I DO MOT WANT TO FILE FOR S51.

MY U.S. MILITARY SERVICE DATES ARE AS FOLLOMS: 5H
START DATE END DATE
May 7, 1997 Wovenber 6, 1997

I SAVE FILED OR INTEND TO FILE FOR WORKERS* COMPENSATION, PUBLIC DISABILITY OR
BLACK LUNG BENEFITS BUT I AM NOT RECEIVING BHEMEFIIS.

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angest 13, 201 ONGE
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me
I AM MOT ENTITLED TO MOR DO I EXPECT TO BECOME ENTITLED TO A PHESION OR AUBIUTTY
BASED IM WHOLE OR IN PART OM WORK AFTER 1956 MOT COVERED BY SOCIAL SECURITY.
THE SOCIAL SECURITY ADMINISTRATION AND THE STATE AGENCY BEVIEMING MY CLALAH 00
SAVE MY PERMISSION TO CONTACT HY EMPLOYER(S) -
I AM MARRIED TO ROSA PERSANDEZ. WE WERE MARRIED O8 March 1, 2011 IN RO BY A
CLERGYMAN OR PUBLIC OFFICIAL. MY SPOUSE’S AGE OR BIRTHDATE 1S October 24, 2978

AWD SOCIAL SECURITY WOMBER IS
I AD MO PREVIOUS MARRIAGES THAT LASTED 10 YEARS OR MORE OR ERDED IB DEATH

I SAVE THE FOLLOWING CHILD OR CRILDREM UNDER AGE 18; AGE 18-19 ATIEMOING
ELEMENTARY OR SECONDARY SCHOOL FULL TIME; OR AGE 18 GR OVER AMD DISABLED BEFORE
AGE 22 WHO MAY BE ELIGIBLE FOR SOCIAL SECURITY BESEFITS G8 THIS KACORD. THIS

I GRVERSTAMD THAT 1 MUST PROVIDER MEDICAL EVIDENCE ABOUT MY DISABILITY, OR
ASSIST TRE SOCIAL SECURITY ADMINISTRATION IM OSTAIMING THE EVIDENCE.

I U§ERSTAND THAT I MAY BE REQUESTED BY THE STATE DISABILITY DETERMINATION
SERVICES TO HAVE A COMSULTATIVE EXAMIMATION AT THE EXPENSE OF THE SOCIAL
SECURITY ADMINISTRATION AMD THAT IF I DO WOT GO, MY CLAIM MAY BE DENIED.

I ADTHORIZE ANY PHYSICIAS,. BOSPTIAL, AGEMCY, OR OTHER ORGAMIZATICN TO DISCLOSE
ANY MEDICAL RECORD CR INFORMATION ABOUT MY DISABILITY TO TRE SOCIAL SECURITY
ADMINISTRATION OR TC THE STATE DISABILITY DETERMINATION SERVICES THAT MAY
REVIEH MY CLAIM OR COWITIMUING DISABILITY.

I AGTRORIZE THE SOCIAL SECURITY ADMINISTRATION TO RELEASE ANY INFORMATION ABOUT
MZ TO A PHYSICIAN OR MEDICAL FACILITY PREPARATORY TO AN EXAMIWATION OR TEST.
RESULTS OF SUCH EXAMINATION OR TEST MAY BE RELEASED TO MY PHYSICIAN OR OTHER

TREATING SOURCE.
I ADYHORIZE THAT INFORMATION ABOUT MY DISABILITY MAY BE FURNISHED TO ABY
COMYRACTOR FOR CLERICAL SERVICES BY THE STATE DISABILITY DETERMIMATICN

SERVICES.
I AGREE TO WOTIFY THE SOCIAL SECURITY ADMINISTRATION OF ALi. EVENTS AS EXPLAINED

TO ME.

REMARKS :

I AGREE WITH MY EARMINGS RECORD AS POSTED. I DID WOT WORK IN YEARS

1989 AND 1990 AND FROM YEAR 2000 THROUGH 2002. MY LAST WORK KAS IN 06/2011
WHEN I BECAME DISABLED.

I KNOW THAT ANYONE WHO MAKES OR CAUSES TO BE MADE A FALSE STATEMENT OR
REPRESENTATION CF MATERIAL FACT IN AN APPLICATION OR FOR USE IN DETERMIMING A
RIGHT TO PAYMENT UNDER THE SOCIAL SECURITY ACT COMMITS A CRIME PUNISHABLE UNDER
FEDERAL LAW BY FINE, IMPRISONMENT OR BOTH. I AFFIRM THAT ALL ISFORMATION I HAVE

GIVES IN CONMBECTION WITH THIS CLAIM IS TRUE.

MY TELEPROWE WOMBER IS [( 787) 585-3223.

 

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MH XXX-XX-XXXX

SOCIAL SBCORITTY ADMIMISTRATICN
IMPORTANT INFORMATION

RECEIPT FOR YOUR CLAIM FOR SOCIAL SECURITY DISABILITY IBSURAMCE BEWEFITS

YOUR APPLICATION FOR SOCIAL SECURITY BEMEFITS HAS BEES RECEIVED AMD WILL BE
PROCESSED AS QUICKLY AS POSSIBLE.

YOU SROULD HEAR FROM US WITHIN _ DAYS AFTER YOU HAVE GIVEM US ALL THE
IMPORMATION WE REQUESTED. SOME CLAIMS MAY TAKE LOWGER IF ADDITIONAL INFORMATION

IS MEBDED.
Is THE MEANTIME, IF YOU CHANGE YOUR ADDRESS, OR IF THERE 1S SOME OTHER CHANGE
THAT MAY AFFECT YOUR CLAIM, YOU — OR SOMEONE FOR YOU - SHOULD REPORT THE

We are providing the attached application for your records
We stored your application information electronically so there is no reason for

us to retain a paper copy of your application.

IMPORTANT REMINDER

Penalty of Perjury
You declared under penalty of perjary that you examined al} the information on
this form and it is true and correct to the hest of your knowledge. You were
told that you could be liable under law for prowiding false information

THE TELEPHOSE BUMBERS TO CALL IF YOU HAVE A QUESTION OR SOMETHING TO REPORT

ARE:
_ BEFORE YOU RECRIVE A MOTICE ABOUT YOUR CLAIM:

AFTER YOU KECEIVE A MOTICE ABOUT YOUR CLAIM:

SOCIAL SECURITY INFORMATION IS ALSO AVAILABLE TO INTERMET USERS AT
a0. SOCIALSECURITY . GOV

that You Need To Do
o Review the summary to make sure we recorded your statements correctly.

o If you agree with all your statements, you way keep the information 524

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MH XXX-XX-XXXX SG-SSA-16
your records.
o If you disagree vith any of your statements, please contact ws within 10
Gays after receiving this notice to let us know.
ALWAYS GIVE US YOUR CLAIM NUMBER WHEN WRITING OR IKLEPHOMING ABOUT YOUR
CLAIM. IF YOU HAVE ANY QUESTIONS ABOUT YOUR CLAIN, WE WILL BE GLAD TO

RELP YOU.
WE ARE REYORNING ANY DOCUMENT(S) YOU MAY NAVE SUBMITIED WITH YOUR APPLICATION.

HELPFUL HEALTIA CARE WEBSITES

Realth Information
The U.S. Department of Health and furan Services provides information on many
health topics at wew-healthfinder.gow on the Internet. You may wish to visit
that site to review that infomeation, which may be helpful to you.

Prescription Drag Assistance Programs
You may be able to get help paying for prescription drugs. To find out what
programs are offered by drug companies, state and local governments, and local
orgenizations, please visit wev.healthfinder .gow/redrag om the Internet.

Are You Uninsured For Healthcare? Do You Hawe A Pre-Existing Condition?

You may be eligible for the Pre-Existing Condition Insurance Plan-a program for

people who have a pre-existing condition and have been without health coverage
for at least six months. For more information, you can cali toll free:

1-866-717-5826 (TTY 1-866-561-1604), ox you can go to “Find Your State™ at
www.pcip.gov to find out whether you might be cligible and bow to apply.
SOCIAL SECURITY CLAIM 0.

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